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                                   UNITED STATES DISTRICT COURT

                         FOR THE DISTzuCT OF ALASKA AT ANCHORAGE

                                          FILE NO. 3:11-CV-00064 RRB

PETRO STAR INC.,                                    )
                                                    )
                   Plaintiff,                       )
                                                    )
                                                    )     NOTICE OF APPEAL
                                                    )
BP OIL SUPPLY CO., BP PRODUCTS                      )
NORTH AMERICA INC.                                  )
                                                    )
                   Defendants                       )
                                                    )




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2525753v11011100



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            Notice is hereby given that Petro Star Inc., plaintiff in the above named case Petro Star   v.


BP Oil Supply Co., BP Products North America Inc.,hereby appeals to the United States Court

of Appeals for the Ninth Circuit from the Order Granting Defendant's Motion for Summary

Judgment entered        in this action on December 7,2012 (dkt. 115) and Judgment entered on

December 10,2012 (dkt. 116) and amended on January 3,2013 (dkt. 116-1).


DATED this 3rd day of January,2ïI3, at Seattle, Washington

                                              SUSMAN GODFREY L.L.P.
                                              Attorneys for Plaintiffs




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This is to certify lhat atrue copy of the
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